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             ‘SCARY TERRY’ ROZIER
            BUILDING HIS BRAND ON
              AND OFF THE COURT
                                                                        MAR                        Type and hit e

                                                                         6

                                                                                                           Unleashing
                                                                                                           Scary Terry
                                                                                                           May 3, 2018

                                                                                                           Heeeere’s
                                                                                                           Scary Terry
                                                                                                           May 3, 2018

          On Jan. 31, with Celtics point guards Kyrie Irving, Marcus                                       Terry
          Smart, and Shane Larkin all sidelined with injuries, Terry                                       Rozier
          Rozier drew his rst career start. Rozier responded by                                            Envisioned
          registering his rst ever triple-double and leading Boston to                                     His
          a win over the Knicks. Two nights later he poured in a                                           Breakout
          career-high 31 points in a win over the Hawks, and two                                           Season
          nights after that he drilled a jump-shot with 14 seconds left                                    Last
          that helped send the Celtics to a 1-point win over the                                           Summer
          Blazers.                                                                                         May 3, 2018

          On a Celtics team that is somewhat devoid of personality,
          Rozier’s humor and everyman qualities had already become
          endearing, particularly to a loyal subset of fans on Twitter
          and Reddit. Rozier’s representatives at Verus Management

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          had been tracking his popularity on social media channels                                        Why Terry
          and seen how even the most basic Rozier-related quips and                                        Rozier is so
          quotes seemed to resonate, and now this three-game burst                                         important
          had made him a bit more mainstream. It was an                                                    to the
          opportunity to build his brand.                                                                  injury-
                                                                                                           riddled
          Rozier, who already has his own personal clothing line, has a
                                                                                                           Celtics
          deep love for fashion. So Terry shirts seemed like an obvious
                                                                                                           March 14,
          choice. But they needed something catchy, something that
                                                                                                           2018
          would pop, something that would, well, get some retweets.

          Sam Packard, a co-host of the LockedOn Celtics podcast,                                          ‘Scary

          last season gave Rozier the nickname “Tito,” and he had no                                       Terry’

          real reason for it.                                                                              Rozier
                                                                                                           Building
          “Literally, his name began with a T, and he was good,”
                                                                                                           his Brand
          Packard said with a chuckle. “I’ve always been a fan of the
                                                                                                           On and Off
          nickname ever since Terry Francona.”
                                                                                                           the Court
          Packard said he’d even brie y tried to convert Tyler Zeller to                                   March 6,
          a Tito during his three-year stint in Boston, but it never                                       2018
          stuck.
                                                                                                           Sampson
          Anyway, Tito Rozier was gaining steam, and those around                                          Comes Up
          the point guard could not understand why. They thought                                           Huge in
          that Rozier’s preferred nickname, T-Ro, was simply being                                         Win over
          lost in translation, because it sort of sounded like Tito.                                       Bulls
          Celtics director of player personnel Austin Ainge even                                           February 6,
          addressed the issue on Twitter, asking fans to correctly say                                     2018
          T-Ro, as the guard preferred. And this was the genesis of the
            rst Rozier shirt that was ready for print last month. It was
          going to say: “T-Ro, not Tito.” And maybe fans would buy it
          and wear it.

          But life moves fast in the world of nicknames and Twitter
          and NBA ckleness, and Rozier’s camp saw hype escalating
          around a new moniker, “Scary Terry.” That is the name of a
          character on the popular adult Cartoon Network show,
          “Rick and Morty.” Rozier said he had seen the cartoon. “But I
          don’t really care for it.”

          Still, he thought the nickname sounded cool, and everyone
          on social media seemed to like it.



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          So Rozier’s team developed a cartoon version of Rozier
          wearing a Jason mask from the Friday the 13th movies.

          The problem is that Rozier’s favorite horror movie is
          “Scream.” He even got a tattoo of the villain’s mask on his
          arm last summer. Late after a game one night last month
          he texted Dave Mariotti, Verus’s director of media
          marketing, and said he would like them to change Scary
          Terry’s identity.

          “I feel like the scary movies nowadays is not like they used
          to be,” Rozier said. “[The Scream mask] was just my favorite.
          Then people in Boston started doing the Scary Terry thing,
          so they started using the Jason mask and I’m like, ‘Nah,
          we’re using Scream.’ ”

          They made a shirt that displayed a cartoon version of Rozier
          wearing a Scream mask, and when Rozier posted a picture
          on Instagram of himself wearing one, Scary Terry-fever hit.

          Five hundred sweatshirts and T-shirts were printed. The
          only real advertising was done by Rozier on social media,
          and the entire allotment sold out in about two days.

          Rozier said there are plans to print more shirts with
          different graphics and colors. Fans continue to ask him
          where they can get their Scary Terry keepsakes. Rozier
          smiles and chuckles as he thinks about how quickly this all
          took off.

          “For sure when the playoffs come I’m going to do some
          crazy things, make some crazy shirts,” he said. “I’m just
          gonna keep switching it up, because obviously the fans love
          it, and it looked good.”

          Mariotti said their team will continue to keep tabs on which
          way the social media wind is blowing, too. It is such a
          convenient way to crowd source.

          “He’s in a great market and has an interesting following,”
          Mariotti said. “He has a great fan base, and it seems like
          people are gravitating towards things he says and does.”

          Of course, the interest in Rozier has also swelled thanks to
          his play on the court. He has established an important role
          for the Celtics this season, and has scored 10 points or more
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          in 14 consecutive games. It is clear he is enjoying himself
          along the way, too, and Celtics fans are enjoying that.

          “I think he just has the most dynamic personality of anyone
          on the team,” Packard said. “He just seems like a real down-
          to-earth kind of guy who doesn’t really take himself too
          seriously, and is extremely relatable in that sense.”


          By Adam Himmelsbach, Boston Globe




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